




NO. 07-02-0342-CV



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL A



APRIL 14, 2003



______________________________





LUIS IGNACIO AGUIRRE, APPELLANT



V.



NORTHWEST TEXAS HEALTHCARE SYSTEM, INC. AND

UNIVERSAL HEALTH SERVICES, APPELLEES





_________________________________



FROM THE 108
th
 DISTRICT COURT OF POTTER COUNTY;



NO. 88,725; HONORABLE ABE LOPEZ, JUDGE



_______________________________



Before JOHNSON, C.J., and REAVIS and CAMPBELL, JJ.

OPINION

Luis Ignacio Aguirre appeals from an order of dismissal in his suit against Northwest Texas Healthcare Systems, Inc. &nbsp;We dismiss for lack of jurisdiction.

In May, 2001, Luis Ignacio Aguirre sued &nbsp;Northwest Texas Healthcare Systems, Inc., and Universal Health Services. &nbsp;Northwest answered the suit on May 16, 2001. &nbsp;Universal filed a Special Appearance on December 12, 2001. &nbsp;In due course, Northwest filed a Motion to Dismiss, subsequently amended, by which it asserted Aguirre’s alleged noncompliance with 
Tex. Rev. Civ. Stat. Ann
. art. 4590i (Vernon Supp. 2002). &nbsp;The trial court dismissed Aguirre’s claim with prejudice by order signed on July 10, 2002. &nbsp;The order did not address Aguirre’s claims against Universal. &nbsp;The order contained a Mother Hubbard clause that “All relief requested and not expressly granted herein is DENIED.” &nbsp;Aguirre’s claims against Northwest were not severed from his claims against Universal. &nbsp;

Aguirre appealed the dismissal. &nbsp;Northwest has moved to dismiss the appeal. &nbsp;Northwest asserts that the order of July 10, 2002, is interlocutory and not appealable.

To be a final judgment from which an appeal may be taken, the judgment must dispose of all parties and all issues in the case. &nbsp;
See
 
Lehmann v. Har-Con Corp
., 39 S.W.3d 191, 205 (Tex. 2001). 
 Whether a judicial decree is a final judgment must be determined from its language and the record in the case. &nbsp;
Id
.at 195. &nbsp;The inclusion of a Mother Hubbard clause--the statement, "all relief not granted is denied," or essentially those words–is not conclusive indication that a judgment rendered without a conventional trial is final for purposes of appeal. &nbsp;
Id
. at 203-04. &nbsp;An order that disposes of claims against one of multiple defendants does not adjudicate claims by or against other defendants. &nbsp;
Id
. at 205. &nbsp;If the record reveals the existence of parties or claims not mentioned in the order, the order is not final. &nbsp;
Id
. at 206. 

Aguirre’s claims against Universal were not addressed by the July 10th
 order. &nbsp;According to the record before us, those claims continue. &nbsp;The order from which Aguirre appeals is not final for purposes of appeal. &nbsp;We do not have jurisdiction. &nbsp;Northwest’s motion is granted and the appeal is dismissed. &nbsp;
See
 
Tex. R. App. P
. 42.3. &nbsp;



Per Curiam &nbsp;&nbsp;&nbsp;






